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              EXHIBIT G
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                                                                                                           Tarini Parti 
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November 13, 2018 
Headquarters Air Force/AAII (FOIA) 
1000 Air Force Pentagon 
Washington, DC 20330-1000 
Phone: (703) 693-2735/692-9981 
Email: usaf.pentagon.saf-aa.mbx.haf-foia-workflow@mail.mil 
 
To Whom It May Concern: 
 
       Pursuant to the federal Freedom of Information Act, 5 U.S.C. § 552 et seq., we request copies of ​all 
records that document any aspect of the procedures pertaining to Air Force One tours, ​including but ​not 
limited to​​: 
        
              ● Records outlining the procedures for the issuance of invitations to tour Air Force One 
              ● Any and all records describing eligibility requirements of potential Air Force One tour attendees 
              ● Procedures outlining use of background checks of potential Air Force One tour attendees 
              ● Records outlining the procedures for conducting the tours 
 
       We request these records in their ​native digital format​​, and ​not​ printed out or otherwise processed in a 
manner that would decrease the quality, quantity, or accessibility of the original information the records represent.  
        
       If you determine that any portion of requested records are exempt from disclosure​​, please redact the 
non-disclosable portions, specify the statutes that exempt them, and release all other segregable parts. 
        
       We are journalists at BuzzFeed News (and formerly at Politico and the Wall Street Journal, respectively). 
The requested records will inform my reporting, and we intend to use these records to inform the general public. 
Accordingly, we request to be categorized as ​representatives of the news media​​, per 5 U.S.C. § 552(a)(4)(A)(ii).   
        
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         Further, we r​equest that any fees be waived​​ because disclosure of the responsive records “is in the public 
interest” as “it is likely to contribute significantly to public understanding of the operations or activities of the 
government and is not primarily in the commercial interest of the requester.” (5 U.S.C. § 552(a)(4)(A)(iii)). The 
records are likely to contribute to the general public’s understanding of its government because these is currently 
very little, if any, public information available concerning the procedures surrounding Air Force One tours.  
          
         Additionally, it is our understanding that least some of the people offered tours of Air Force One are 
members of President Trump’s private Palm Beach club, Mar-a-Lago. As we have reported, Mar-a-Lago members 
“would not confirm or deny that they actually attended [Air Force One tours], but the [tour] invitations would raise 
more questions about the blurry line between Trump's administration and his family’s private businesses. Although 
past administrations have given Air Force One tours to friends, family, and even donors, in this case, those 
attending would have paid Trump’s exclusive clubs thousands of dollars annually.”1  
          
         That report was then covered by Fortune, Vox, The Week, The Hill, and New Republic, in addition to 
several others. As noted below, Mar-a-Lago, owned by the President Trump’s family, has come under widespread 
public and media scrutiny for providing its members with unique access to the President. There can be no doubt of 
the public’s interest to know who has been invited to take, and taken, these tours. 
 
         Under the FOIA Improvement Act of 2016, agencies may withhold information “only if . . . disclosure 
would harm an interest protected by an exemption” or if “disclosure is prohibited by law.” If you withhold any of 
these records, we request as required by the FOIA that you ​identify the reasonably foreseeable harm​​ that would 
result from the release of the records.  
          
         As we am making this request as journalists and this information is of timely value, we would appreciate you 
communicating with us by telephone or electronic mail — listed above — rather than by postal mail. 
          
         We look forward to your reply within 20 business days, as the statute requires. Please let us know if there are 
any clarifications we can make to make this request easier and/or quicker to complete.  
                                                                                                                   Sincerely, 
                                                                                                                Tarini Parti 
                                                                                                       Jeremy Singer-Vine 




1
 Tarini Parti & Jeremy Singer-Vine, Some Members Of Trump's Exclusive Clubs Appear To Have Been Invited To An Air Force One 
Tour, BuzzFeed News (July 9, 2018), ​https://www.buzzfeednews.com/article/tariniparti/trump-air-force-one-mar-a-lago-tour  
